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                 THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


       UNITED STATES OF AMERICA           :        3:24CR158
                                          :
                 V                        :
                                          :        (JUDGE MUNLEY)
                                          :
       JAMES MAHON,                       :
                Defendant                 :



                      PRELIMINARY PRETRIAL ORDER

        In order to eliminate unnecessary motions for discovery in this case,
 to eliminate delays in the presentation of evidence and the examination of
 witnesses, to expedite the trial pursuant to the provisions of the Speedy
 Trial Act of 1974, and to set a time for the making of pretrial motions, IT IS
 HEREBY ORDERED THAT:
        Trial. The trial will commence with the drawing of a jury on August
        26, 2024 at 9:30 a.m. in Scranton, Pennsylvania.

Pretrial Motions. All pretrial motions shall be filed no later than July 18,
2024. Because the Court finds that the ends of justice will be served by
affording the parties this time to file pretrial motions so as to ensure counsel
for the parties the reasonable time necessary for effective preparation, taking
into account the exercise of due diligence, and that such a delay outweighs
the best interests of the public and the Defendant in a speedy trial, the time
between date of this Order and the expiration of the time to file pretrial
motions is excluded from the speedy trial calculation pursuant to 18 U.S.C. §
3161
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DATED: 6/28/24                           s/Julia K. Munley
                                         JULIA K. MUNLEY
                                         United States District Judge




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